Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 1 of 49 PageID #: 737
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 2 of 49 PageID #: 738
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 3 of 49 PageID #: 739
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 4 of 49 PageID #: 740
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 5 of 49 PageID #: 741
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 6 of 49 PageID #: 742
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 7 of 49 PageID #: 743
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 8 of 49 PageID #: 744
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 9 of 49 PageID #: 745
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 10 of 49 PageID #: 746
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 11 of 49 PageID #: 747
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 12 of 49 PageID #: 748
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 13 of 49 PageID #: 749
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 14 of 49 PageID #: 750
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 15 of 49 PageID #: 751
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 16 of 49 PageID #: 752
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 17 of 49 PageID #: 753
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 18 of 49 PageID #: 754
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 19 of 49 PageID #: 755
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 20 of 49 PageID #: 756
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 21 of 49 PageID #: 757
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 22 of 49 PageID #: 758
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 23 of 49 PageID #: 759
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 24 of 49 PageID #: 760
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 25 of 49 PageID #: 761
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 26 of 49 PageID #: 762
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 27 of 49 PageID #: 763
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 28 of 49 PageID #: 764
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 29 of 49 PageID #: 765
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 30 of 49 PageID #: 766
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 31 of 49 PageID #: 767
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 32 of 49 PageID #: 768
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 33 of 49 PageID #: 769
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 34 of 49 PageID #: 770
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 35 of 49 PageID #: 771
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 36 of 49 PageID #: 772
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 37 of 49 PageID #: 773
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 38 of 49 PageID #: 774
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 39 of 49 PageID #: 775
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 40 of 49 PageID #: 776
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 41 of 49 PageID #: 777
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 42 of 49 PageID #: 778
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 43 of 49 PageID #: 779
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 44 of 49 PageID #: 780
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 45 of 49 PageID #: 781
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 46 of 49 PageID #: 782
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 47 of 49 PageID #: 783
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 48 of 49 PageID #: 784
Case: 4:99-md-01264-CDP Doc. #: 553 Filed: 07/08/02 Page: 49 of 49 PageID #: 785
